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     EXHIBIT “A”
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A lb.


;_:_t CT Corporation                                                             Service of Process
                                                                                 Transmittal
                                                                                 06/10/2020
                                                                                 CT Log Number 537769869
        TO:      KIM LUNDY SERVICE OF PROCESS
                 WALMART INC.
                 702 SW 8TH ST
                 BENTONVILLE, AR 72716-6209


        RE:      Process Served in Florida

        FOR:     Wal-Mart Stores East, LP (Domestic State: DE)




        ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

        TITLE OF ACTION:                   Piazza-Nieves Stephanie, Pltf. vs. Wal-Mart Stores East, LP, Dft.

        DOCUMENT(S) SERVED:

        COURT/AGENCY:                     None Specified
                                          Case # 2020CA14750C

        NATURE OF ACTION:                  Personal Injury - Failure to Maintain Premises in a Safe Condition - -

        ON WHOM PROCESS WAS SERVED:       C T Corporation System, Plantation, FL

        DATE AND HOUR OF SERVICE:          By Process Server on 06/10/2020 at 14:54

        JURISDICTION SERVED:               Florida

        APPEARANCE OR ANSWER DUE:          None Specified

        ATTORNEY(S) / SENDER(S):           None Specified

        ACTION ITEMS:                     CT has retained the current log, Retain Date: 06/10/2020, Expected Purge Date:
                                          06/15/2020

                                           Image SOP

                                           Email Notification, KIM LUNDY SERVICE OF PROCESS ctlawsuits@walmartlegal.com


        SIGNED:                           C T Corporation System
        ADDRESS:                          1999 Bryan St Ste 900
                                          Dallas, TX 75201-3140

        For Questions:                    877-564-7529
                                          MajorAccountTeam2@wolterskluwer.com




                                                                                  Page 1 of 1 / PK

                                                                                 Information displayed on this transmittal is for CT
                                                                                 Corporation's record keeping purposes only and is provided to
                                                                                 the recipient for quick reference. This information does not
                                                                                 constitute a legal opinion as to the nature of action, the
                                                                                 amount of damages, the answer date, or any information
                                                                                 contained in the documents themselves. Recipient is
                                                                                 responsible for interpreting said documents and for taking
                                                                                 appropriate action. Signatures on certified mail receipts
                                                                                 confirm receipt of package only, not contents.
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Filing # 108311496.E-Filed 06/03/2020 10:56:32 AM



                                                        IN THE CIRCUIT COURT OF THE NINTH
                                                        JUDICIAL CIRCUIT, IN AND FOR OSCEOLA'
                                                        COUNTY, FLORIDA


        STEPHANIE PIAZZA-NEVES
                                                        CASE NUMBER:le 20 c..g4               4-(
                Plaintiff,

        vs.

        WAL-MART STORES EAST, LP

                Defendant.


                                                     SUMMONS

        THE STATE OF FLORIDA:
        To Each Sheriff of the State:

              YOU ARE COMMANDED to serve this Summons and a copy of the Complaint, First
        Request to Produce, and Request for Admissions in this action on Defendant:

                                      WAL-MART STORES EAST, LP
                             do C T CORPORATION SYSTEM, as Registered Agent
                                     1200 SOUTH PINE ISLAND ROAD
                                      PLANTATION, FLORIDA 33324

        Each Defendant is required to serve written defenses to the Complaint on Michael B. Sanchez,
        Esquire, Plaintiff's attorney, whose address is 625 E. Colonial Drive, Orlando, Florida 32803,
        within 20 days after service of this Summons on that Defendant, exclusive of the day of service,
        and to file the original of the defenses with the Clerk of this Court either before service on
        Plaintiff's attorney or immediately thereafter. If a Defendant fails to do so, a default will be entered
        against that Defendant for the relief demanded in the Complaint

        DATED:     1-C,Ift/-e- Li( --ze -24)
                                                        Clerk of the Circuit Court (COURT SEAL)




                                                       By:




                                                  www.pendaslaw.com
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                                                   IMPORTANT
A lawsuit has been filed against you. You have 20 calendar days after this summons is served on you to file a
written response to the attached complaint with the clerk of this court. A phone call will not protect you. Your
written response, including the case number given above and the names of the parties, must be filed if you want
the court to hear your side of the case. If you do not file your response on time, you may lose the case, and your
wages, money, and property may thereafter be taken without further warning from the court. There are other
legal requirements.

You may want to call an attorney right away. If you do not know an attorney, you may call an attorney referral
service or a legal aid office (listed in the phone book).

If you choose to file a written response yourself, at the same time you file your written response to the court
you must also mail or take a copy of your written response to the "Plaintiff/Plaintiff's Attorney" named below.

                                                IMFORTANTE
Usted ha sido demandado legalmente. Tiene 20 dias, contados a partir del recibo de esta notificacion, para
contestar Ia demanda adjunta, per escrito, y presentarla ante este tribunal. Una Hamada telefonica no lo
protegera. Si usted desca que el tribunal considere su defensa, debe presentar su respuesta per escrito,
incluyendo el numero del caso y los nombres de las partes intcresadas. Si usted no contesta la demanda a
tiempo, pudiese perder el caso y podria ser despojado de sus ingresos y propiedades, o privado de sus derechos,
sin previo aviso del tribunal. Existen otros requisitos legales. Si lo desea, puede usted consult& a un abogado
inmediatamente. Si no conocc a un abogado, puede Hamar a una dc las oficinas de asistencia legal que aparecen
en la gui a telefonica.

Si desea responder a la demanda per su cuenta, al mismo tiempo en que presenta su respuesta ante el tribunal,
debera usted enviar por correo o entregar una copia de su respuesta a la persona denominada abajo como
"Plaintiff/Plaintiff's Attorney" (Demandante o Abogado del Demandante).

                                                     IMPORTANT
Des poursuites judiciares ont etc entreprises centre vous. Vous avez 20 jours consecutifs a partir de la date de
Passignation de cette citation pour deposer une reponse ecrite a la plainte ci-jointe aupres de cc tribunal. Un
simple coup de telephone est insuffisant pour vous proteger. Vous etes obliges de deposer votre reponse ecrite,
avec mention du numero de dossier ci-dessus et du nom des parties nominees ici, si vous souhaitez que le
tribunal entende votre cause. Si vous ne deposez pas votre reponse eciite dans le relai requis, vous risquez de
perdre la cauk ainsi que votre salaire, votre argent, et yes bicns pcuvent etre saisis par la suite, sans aucun
preavis ulterieur du tribunal. II y a d' autres obligations juridiques et vous pouvez requerir les services immediats
d'un avocat. Si vous ne connaissez pas d'avocat, vous pourriez telephoner a tin service de reference d'avocals
ou a un bureau d'assistance juridique (figurant a l'annuaire de telephones).

Si vous choisissez de deposer vous-meme tine reponse ecrite, 31 vous faudra egalement, en meme temps que
cote formalite, faire parvenir ou expedier une conic de votre reponse ecrite au "Plaintiff/Plaintiff Attorney"
(Plaignant ou a son avocat) nomme ci-dessous.

                           MICHAEL B. SANCHEZ, ESQUIRE (FBN 106176)
                                             The Pendas Law Firm
                                              625 E. Colonial Drive
                                             Orlando, Florida 32803
                                                 407-352-3535
                                            Attorney for the Plaintiff
                                           msanehezOneridaslaw.corn
                                           pleadinuRoendaslaw.corn
                                             leruzapendaslaw.com


                                               www.pendaslaw.com
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Filing # 1.08311496                         Document
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                                                        IN THE CIRCUIT COURT OF THE NINTH
                                                        JUDICIAL CIRCUIT, IN AND FOR OSCEOLA
                                                        COUNTY, FLORIDA


        STEPHANIE PIAZZA-NIEVES
                                                                CASE NUMBER:     ,;;;2 al- -            -    73 - o
                Plaintiff,

        vs.

        WAL-MART STORES EAST, LP

                Defendant.


                                                   COMPLAINT

               COMES NOW Plaintiff, STEPHANIE PIAZZA-NIEVES, and sues Defendant, WAL-

        MART STORES EAST, LP, (hereinafter "WALMART"), and alleges:

                                           GENERAL ALLEGATIONS

               1.       This is an action for damages that exceeds $30,000.00 exclusive of interest, costs

        and attorney fees, for violations of the Florida Civil Rights Act of 1992, as amended ("FRCA")

        Fla. Stat. 760.0 let seq. and violation of Fla. Stat. §92.57.

               2.       At all times material hereto, Defendant, WALMART, is a Foreign Limited

        Partnership authorized to and doing business in Osceola County, Florida.

               3.       At all times material hereto, Plaintiff STEPHANIE PIAZZA-NIEVES was and is a

        resident of Osceola County, and worked for the Defendant in Osceola County, Florida. All events

        giving rise to this action took place in Osceola County, Florida.

               4.       At all times material to this case, Defendant, WALMART, owned, leased, or

        otherwise controlled, and employed individuals at a business located at 4280 W Vista Ct,

        Kissimmee FL, 34746.
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       5.      That at all times material to this case, Defendant, WALMART, was and is liable

for the actions of its employees, agents, servants and/or independent contractors.

       6.      This is an action to recover damages suffered by Plaintiff while employed by

Defendant, Defendant discriminated, harasscd and against and retaliated against Plaintiff based

on her sex, and pregnancy in violation of the FCRA.

       7.      This is also an action to recover damages from Defendant as a result of their

violation of Ha. Stat. §92.57.

       8.    • At all-time material hereto, Plaintiff was an employee of Defendant.

       9.      At all times material hereto, Defendant employed more than 15 employees. Thus

Defendant is an employer with the meaning of the FCRA, Fla. Stat. 760.02(7).

       10.     Plaintiff has satisfied all conditions precedent, or they have been waived.

       11.     Plaintiff has retained the undersigned attorneys and agreed to pay them a fcc.

       1/.     Plaintiff request a jury trial for all issues so triable.

                                                FACTS

       13.     Plaintiff began working for Defendant on or around June 20, 2013.

       14.     Plaintiff performed her job for which she was hired in a satisfactory manner.

       15.     Plaintiff at the time of her discrimination and harassment, Spring and Summer of

2018, was a female and pregnant.

       16.     Plaintiff's pregnancy was known by Walmart and the Store Manager, Josandi

Bautista at the time of Plaintiff's discrimination and harassment.

       17.     Plaintiff is a member of a protected class based on her sex and pregnancy, and as

such benefits from the protections of the FCRA.
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        18.      Plaintiff was subjected to disparate treatment including working extra hours,

working extra duties not within Plaintiff's work description, accusations of not working hard

enough, doing work duties other pregnant employees were not required to perform, using

Walmart's absentee and tardy policies arbitrarily and unfairly when compared to other Walmart

employees, because of Plaintiff's sex, and pregnancy.

        19.      Plaintiff reported her discrimination and harassment on July 6, 2018 to Walmart's

Global Ethics Department, however this report was ignored by Walmart.

        20.      On June 14, 2019 the State of Florida issued a Witness Subpoena to STEPHANIE

PIAZZA-NIEVES in thc case of State of Florida v. Chase Allen Teller, Case No.: 49-2018-CF-

001261.

        2I.      The Witness Subpoena required Plaintiff to be "On Call" for Tuesday August 28,

2018.

        22.      Walmart fired Plaintiff because of her absence on August 28, 2018.

                      COUNT I-FCRA VIOLATION (DISCRIMINATION)

        23.      Plaintiff re-alleges and readopts the allegation set forth in paragraphs 1 through 22

of this Complaint, as though fully set forth herein.

        24.      Plaintiff is a member of a protected class under FCRA.

        15.      Plaintiff was subject to disparate treatment on account of her sex, and pregnancy.

        26.      Defendants actions were willful and done with malice.

        27.      Plaintiff was injured due to Defendants violations of the FCRA for which she is

entitled to relief.

        WHEREFORE, Plaintiff demands a jury trial on all issues so triable; that process issue

and this court takes jurisdiction over this case; compensation for lost wages, benefits, and other
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remuneration; Reinstatement of Plaintiff to a position comparable to her prior position, or in the

alternative, front pay; Reinstatement of Plaintiff to a position comparable to her prior position,

with back pay plus interest , pension rights, and all benefits any other compensatory damages,

including emotional distress, allowable at law; Punitive damages; prejudgment interest on all

monetary recovery obtained; all costs and attorney's fees incurred in prosecuting these claims;

and any other relief this court deems just and equitable.

                       COUNT I I-FCRA VIOLATION (HARASSMENT)

        28.     Plaintiff re-alleges and readopts the allegation set forth in paragraphs I through 22

of this Complaint, as though fully set forth herein.

        29.     Defendant harassed Plaintiff because of her sex, and pregnancy.

        30.     Defendant's harassment cause Plaintiffs termination.

        31.     Defendant's actions were willful and done with malice.

        32.     Defendant's took material adverse action against Plaintiff in terminating her


employment.

        33.     Plaintiff was injured due to Defendants violation of the FCRA for which Plaintiff

is entitled to legal and injunctive relief.

        WHEREFORE, Plaintiff demands a jury trial on all issues so triable; that process issue

and this court takes jurisdiction over this case; compensation for lost wages, benefits, and other

remuneration; Reinstatement of Plaintiff to a position comparable to her prior position, or in the

alternative, front pay; Reinstatement of Plaintiff to a position comparable to her prior position,

with back pay plus interest , pension rights, and all benefits; any other compensatory damages,

including emotional distress, allowable at law; punitive damages; prejudgment interest on all
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monetary recovery obtained; all costs and attorney's fees incurred in prosecuting these claims;

and any other relief this court deems just and equitable.

              COUNT III-FLA. STAT. §92.57 VIOLATION (TERMINATION)

       34.     Plaintiff re-alleges and readopts the allegation set forth in paragraphs I through 22

of this Complaint, as though fully set forth herein.

       35.     Plaintiff was employed by Walmart at the time the State Attorney's office served

her with a Witness Subpoena.

       36.     Plaintiff Complied with the State Attorney's Witness Subpoena on Tuesday

August 28, 2018.

       37.     Plaintiff's coMpliance with the duly issued Witness Subpoena caused Plaintiff to

be absent from work on August 28, 2018.

       38.     Plaintiffs absence from work on August 28, 2018 caused her to be terminated

from WALMART on September 2,2018.

       WHEREFORE, Plaintiff demands a jury trial on all issues so triable; that process issue

and this court takes jurisdiction over this case; compensation for lost wages, benefits. and other

remuneration; Reinstatement of Plaintiff to a position comparable to her prior position, or in the

alternative, front pay; Reinstatement of Plaintiff to a position comparable to her prior position,

with back pay plus interest, pension rights, and all benefits; any other compensatory damages,

including emotional distress, allowable at law; Punitive damages; prejudgment interest on all

monetary recovery obtained; all costs and attorney's fees incurred in prosecuting these claims;

and any other relief this court deems just and equitable.
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    RESPECTFULLY SUBMITTED on this 2nd day of June, 2020.


                                   By: /s/ Michael Bryan Sanchez, Esq.
                                   Michael Bryan Sanchez, ESQ. (FBN: 105601)
                                   The Pcndas Law Firm
                                   625 E. Colonial Drive
                                   Orlando, Florida 32803
                                   Tel: 407-352-3535
                                   Fax: 407-770-6066
                                   Attorney for the Plaintiff
                                   Msanchezrebendaslaw.com
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